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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In re: GGI Holdings, LLC Case No. 20-31318
NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE. Transferee hereby gives evidence and notice

pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 

 

Bradford Capital Holdings, LP Birmingham Realty Company, Inc.
Name of Transferee Name of Transferor .

Name and address where transferee payments Proof of Claim Number: 274

should be sent: Proof of Claim Amount: $305,796.53
c/o Bradford Capital Management, LLC Scheduled Claim Number: 3.1

PO Box 4353 Scheduled Claim Amount: $53,726.00

Clifton, NJ 07012

Attn: Brian Brager

Phone: 862-249-1349

Email: bbrager@bradfordcapitalmgemt.com

 

 

 

 

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

By: /s/ Brian Brager Date: 09/10/2020
Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
§§ 152 & 3571

 

 
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EVIDENCE OF TRANSFER OF CLAIM

TO: United States Bankruptcy Court
Northern District of Texas
Attention: Clerk

AND TO: GGI Holdings, LLC (“Debtor”)
Case No. 20-31318

Proof of Claim Number: 274

Proof of Claim Amount: $305,796.53
Scheduled Claim # 3.1, case 20-31321
Scheduled Claim Amount: $53,726.00

Birmingham Realty Company its successors and assigns (“Assignor”), for good and valuable consideration the receipt and
sufficiency of which is hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:

Bradford Capital Holdings, LP
Attention: Brian L. Brager
PO Box 4353

Clifton, NJ 07012

its successors and assigns (“Assignee”), all rights, title and interest, claims and causes of action in and to, or arising under
or in connection with, its claim (as such term is defined in Section 101(5) of the U.S. bankruptcy Code), in and to the
claim of Assignor, including all rights of stoppage in transit, replevin and reclamation, (the “Claim”) against the Debtor in
the Bankruptcy Court, or any other court with jurisdiction over the bankruptcy proceedings of the Debtor.

Assignor hereby waives any objection to the transfer of the Claim to Assignee on the books and records of the Debtor
and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or right to a hearing as
may be imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedures, the Bankruptcy Code, applicable local
bankruptcy rules or applicable law. Assignor acknowledges, understands and agrees, and hereby stipulates that an
order of the Bankruptcy Court may be entered without further notice to Assignor transferring to Assignee the Claim and
recognizing the Assignee as the sole owner and holder of the Claim.

You are hereby directed to make all future payments and distributions, and to give all notices and other
communications, in respect of the Claim to Assignee.

IN WITNESS WHEREOF, each of the undersigned has executed this Evidence of Transfer by its duly authorized

representative dated this Zee day of - Fuge ber 202%

Birmingham Realty Company Bradford Capital Holdings, LP
By Bradford Capital GP, LLC, its General Partner

/ DocuSigned by:
By: plow By: [ tr bran Bran
Name: T. ual Sarford Name: \—ssaF5F65080341€...

Brian Brager
Title: Zisef Crenrcsat Dib cer Title:
Managing Member

 
